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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 GREGORY V. MANCO, PH.D.,                         :
                                                  :
                        Plaintiff,                :
                                                  :
         v.                                       :    NO. 5:22-CV-00285
                                                  :
 ST. JOSEPH’S UNIVERSITY, ET AL.,                 :
                                                  :
                        Defendants.               :

        RESPONSE OF DEFENDANTS ERIN FAHEY, KARLEIGH LOPEZ, AND
                   HADASSAH COLBERT IN OPPOSITION TO
      PLAINTIFF’S MOTION FOR LEAVE TO FILE AN AMENDED COMPLAINT

        Defendants Erin Fahey, Karleigh Lopez, and Hadassah Colbert (collectively, “Opposing

Defendants”), by and through their undersigned counsel, respectfully submit this Response in

Opposition to Plaintiff’s Motion for Leave to File an Amended Complaint (“Plaintiff’s Motion”).

I.      INTRODUCTION

        St. Joseph’s University (“SJU”) Professor Gregory Manco (“Plaintiff” or “Manco”) filed

this lawsuit to harass his employer and its former students and to punish those who disagree with

his intentionally controversial opinions, all in an attempt to gain further attention for himself and

his politics.   A cursory review of Manco’s public Twitter account (@SouthJerzGiants)

demonstrates that he is consistently and publicly outspoken on controversial topics of public

concern to his over 3,100 followers and anyone else who views his account. Many of Manco’s

more than 18,500 tweets are designed to elicit reactions (including negative reactions) and generate

public discussion. Indeed, Manco tweets, writes articles, sits for interviews, and speaks publicly

on topics including reparations for slavery, racial sensitivity trainings, transgender identity,

affirmative action, diversity, equity and inclusion, the elimination of public schools, minimum

wage, maximum corporate tax, abortion, and the “welfare state.” By opining on these topics,


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Manco’s intent is to elicit passionate responses and dialogue.1

         Manco’s tweets, perhaps unsurprisingly, also demonize those who disagree with him. For

example, in his references to a Member of Congress, he states that she is an idiot, scumbag,

socialist, pure evil, unintelligent, imbecile, POS, and criminal. Now, Manco seeks to demonize

the Opposing Defendants for disagreeing with him and “revealing him,” by citation to his own

public tweets or to their own experiences with him in the classroom, to SJU. There seems to be

no end to this vindictive approach to litigation because Plaintiff is now attempting to bring yet

another additional defendant into this litigation who took a position adversarial to him on social

media about this very litigation.

         Manco’s goal, of course, is to chill speech contrary to his beliefs and to use this Court as a

platform for self-aggrandizement.2 In fact, it is noteworthy that, to date, Manco has spoken on talk

shows, spoken with news outlets, and has published his own articles about the allegations in this

litigation. Manco’s agenda, however, is not an appropriate use of the judicial system and our

judicial resources.

         Manco’s original Complaint in this matter is already far sweeping and improperly inclusive

of various defendants and claims that lack sufficient factual support.3 Now, Manco seeks leave to

further amend his Complaint to bring additional futile claims, improper defendants, and

unnecessary commentary into his pleadings without need or legal justification. As to the Opposing



1
         In fact, no reasonable member of society could expect to opine on these topics across thousands of tweets
without receiving both positive and negative passionate responses.
2
         See, e.g., Todd Shepard, Broad + Liberty, Former St. Joe’s prof. sues university and former student over free
speech fight (Jan. 24, 2022), https://broadandliberty.com/2022/01/24/former-st-joes-prof-sues-university-and-former-
student-over-free-speech-fight/ (“Manco’s case has occasionally drawn attention from national figures. When news
broke that Manco’s contract would not be renewed, Georgetown Constitutional law professor and frequent cable news
contributor Jonathan Turley called it ‘a chilling turn of events.’”).
3
         These claims will be addressed with Motions under Rule 12(b)(6) at the appropriate time.

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Defendants, Plaintiff adds an additional claim of intentional infliction of emotional distress

(“IIED”) and several legal conclusions. However, Plaintiff’s addition of a claim of IIED would

be futile as to Opposing Defendants, and Plaintiff’s Motion should be denied as to this

amendment.4

II.      PROCEDURAL BACKGROUND

         On January 21, 2022, this matter was initiated with Plaintiff’s original Complaint. See

ECF No. 1. The parties mutually agreed to give all Defendants additional time to respond to

Plaintiff’s Complaint because Plaintiff represented that he was intending to amend his Complaint

to add additional defendants and claims. Plaintiff’s Motion seeks leave to amend the Complaint

to, inter alia, add an IIED claim against Opposing Defendants. Plaintiff’s Motion should be denied

as to the proposed addition of a claim for IIED as to Opposing Defendants.

III.     LEGAL ARGUMENT

         A.       Legal Standard

         Per Federal Rule of Civil Procedure 15(a), courts may grant amendments “when justice so

requires.” Fed. R. Civ. P. 15(a). “While Rule 15 states that ‘leave to amend should be “freely

given,” a district court has discretion to deny a request to amend if it is apparent from the record

that (1) the moving party has demonstrated undue delay, bad faith or dilatory motives, (2) the

amendment would be futile, or (3) the amendment would prejudice the other party.’” Fallon v.

Mercy Cath. Med. Ctr. of Se. Pa., 200 F. Supp. 3d 553, 564 (E.D. Pa. 2016), aff'd, 877 F.3d 487

(3d Cir. 2017) (citing Fraser v. Nationwide Mut. Ins. Co., 352 F.3d 107, 116 (3d Cir.2003), as



4
         It is worth noting that Plaintiff’s Motion does not include an exhaustive summary of the revisions that he has
incorporated into his proposed Amended Complaint. A close comparison of the Complaint with Plaintiff’s proposed
Amended Complaint reveals that Plaintiff has incorporated revisions into a majority of the paragraphs, not all of which
are identified in Plaintiff’s Motion. See Am. Compl., ECF No. 28-1, at ¶¶ 1-4, 7-8, 10, 15, 17-25, 28-30, 32, 36-37,
45-46, 49, 52, 59, 61-63, 67, 69-70, 74-75, 79, 82, 84, 87-88, 91-92, 94, 96-99, 102-104, 109, 112, 116-123, 126-147,
150-155, 162-181, 189, 197, 200, 205, 207, 209, 211, 214-225, n. 1, n. 4, n. 5, n.7.

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amended (Jan. 20, 2004) (citing Fed. R. Civ. P. 15(a))). “‘Futility’ means that the amended

complaint would fail to state a claim upon which relief could be granted.” Id. (citations omitted).

“The futility analysis on a motion to amend is essentially the same as a Rule 12(b)(6) motion. The

trial court may thus deny leave to amend where the amendment would not withstand a motion to

dismiss.” Synthes, Inc. v. Marotta, 281 F.R.D. 217, 229 (E.D. Pa. 2012) (citations omitted).

         Plaintiff seeks to amend his complaint to add claims of IIED against Opposing Defendants.

However, such an amendment would be futile, and Plaintiff’s Motion should, therefore, be denied

as to this amendment.

         B.       Plaintiff’s proposed amendment to add claims of IIED against Opposing
                  Defendants would be futile and Plaintiff’s Motion should therefore be denied
                  as to this amendment.5

         As an initial matter, “no Pennsylvania case law exists upholding an IIED claim which has

been predicated upon defamatory language.” See Hill v. Cosby, No. 15-1658, 2016 WL 491728,

at *9 (W.D. Pa. Feb. 9, 2016, aff’d, 664 F. App’x 169 (3d Cir. 2016). See also Garabedian, 2019

WL 4885969, *7 (wherein this Honorable Court recognizes the holding in Hill). In his proposed

Amended Complaint, Plaintiff states that Opposing Defendants provided “false and defamatory

information to the school.” Am. Compl. ¶ 146. Plaintiff also identifies Defendant Colbert’s

February 19, 2021 Instagram post as defamatory. See id. ¶ 54. The remainder of Plaintiff’s

proposed Amended Complaint makes sweeping allegations of defamatory statements without

specifically identifying which statements are defamatory. Id. at ¶¶ 122, 124-125, 146, 147, 192,


5
          Plaintiff’s Motion would also be futile as to the inclusion of a claim for IIED against Defendant Loue, who
has a single substantive fact plead against her in the original Complaint and the proposed Amended Complaint, for
the same reasons that are set forth herein as to the Opposing Defendants. See ECF No. 1, ¶ 105; ECF No. 28-1, p. 39,
¶ 112. Namely, Plaintiff fails to set forth conduct that is extreme and outrageous as to Defendant Loue and her actions
are subject to judicial privilege. Despite being informed that Defendant Loue lives in the United Kingdom (“U.K.”)
and not at the address identified in the Complaint, Plaintiff has proposed an Amended Complaint re-inserting an
address that is unrelated to Defendant Loue. As Plaintiff is further aware, Defendant Loue has not yet been served in
this action and has not authorized the undersigned counsel to waive service on her behalf. Defendant Loue is,
therefore, not a party to this action.

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195, 202-05. Thus, to the extent that Plaintiff is alleging that all of the Opposing Defendants’

statements were defamatory, Plaintiff does not have a legal basis to claim that any such statements

also serve as grounds for IIED because they are predicated on purportedly defamatory language.

        Plaintiff’s proposed amendment to add claims of IIED against Opposing Defendants would

also be futile for two additional reasons, both of which serve as independent grounds to deny

Plaintiff’s Motion. First, Plaintiff fails to plead extreme and outrageous conduct as to the Opposing

Defendants. Second, all of the actions taken by the Opposing Defendants are entitled to judicial

privilege and cannot serve as the basis of an IIED claim.

        Thus, Plaintiff’s Motion should be denied as to inclusion of a claim for IIED as to Opposing

Defendants because inclusion of such a claim would be futile.

                    i. The claim for IIED would be futile as to Opposing Defendants because
                       Plaintiff fails to plead extreme and outrageous conduct as to the
                       Opposing Defendants.

        An action for IIED requires a plaintiff to show (1) the conduct is extreme; (2) the conduct

is intentional or reckless; (3) the conduct caused emotional distress; and (4) the distress is severe.

Kornegey v. City of Phila., 299 F. Supp. 3d 675, 683 (E.D. Pa. 2018). Plaintiff fails to allege facts

sufficient to support the first element as to any of the Opposing Defendants.

        To state a claim for IIED in Pennsylvania under the first element, a plaintiff must

demonstrate that the defendant's conduct was “so outrageous in character and so extreme in

degree as to go beyond all possible bounds of decency and to be regarded as atrocious and

utterly intolerable in a civilized society.”          Id. (emphasis added).   As a matter of law,

outrageousness occurs only when “the case is one in which the recitation of the facts to an average

member of the community would arouse resentment against the actor, and lead him to exclaim,

‘outrageous.’” Martin-McFarlane v. City of Phila., 299 F. Supp. 3d 658, 671 (E.D. Pa. 2017)



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(emphasis added). As noted by the Third Circuit, Pennsylvania courts have been reluctant to find

conduct so outrageous as to permit recovery for this tort. Miniscalco v. Gordon, 916 F. Supp. 478,

480-81 (E.D. Pa. 1996) (citing Clark v. Twp. of Falls, 890 F.2d 611, 623 (3d Cir. 1989)).

        Claims for IIED are frequently dismissed for failure to meet the first element. See Moore

v. Doe, No. 21-05302, 2022 WL 866678, at *3 (E.D. Pa. Mar. 23, 2022) (“While Pennsylvania

courts recognize a cause of action for intentional infliction of emotional distress, they allow

recovery only in very egregious cases.”). See, e.g., Doe v. Garabedian, No. 19-1539, 2019 WL

4885969, at *7 (E.D. Pa. Oct. 2, 2019), order vacated in part on reconsideration on other grounds,

No. 19-1539, 2020 WL 1244126 (E.D. Pa. Mar. 13, 2020) (“The Court finds that the statements at

issue, while reprehensible, are not so extreme or outrageous as to go beyond all possible bounds

of human decency. Accordingly, the Court [dismisses] the IIED claim . . . with prejudice as

amendment would be futile.”); Ghrist v. CBS Broad, Inc., 40 F. Supp. 623, 626, 630-31 (W.D. Pa.

2014) (dismissing claim for IIED at motion to dismiss stage based on Plaintiff’s failure to

demonstrate egregious conduct).

        In Eck v. Aley Valley School District, the plaintiffs, several high school students, alleged

that a teacher used her position to bully and intimidate them and that their teacher attempted to

encourage the plaintiffs’ peers to do the same, including by making false statements about the

plaintiffs being violent and posing a threat to the school. No. 19-1873, 2019 WL 3842399, at *8

(E.D. Pa. Aug. 15, 2019). The plaintiffs further alleged that these actions by their teacher resulted

in the students’ suspension from school. Id. Despite these allegations of false and threatening

behavior by a teacher towards her students, the Eck court dismissed plaintiffs’ compliant at the

motion to dismiss stage holding that “[a]ccepting these allegations as true as we must at the motion

to dismiss stage, they do not rise to the level of ‘extreme and outrageous’ conduct sufficient to



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support a claim for intentional infliction of emotional distress.” Id. “Under Pennsylvania law,

extreme and outrageous conduct is found ‘only in the most egregious situations, such as

mishandling of a corpse, reckless diagnosis of a fatal disease, and having sexual contact with

young children.’” Id. (emphasis added) (quoting Cheney v, Daily News L.P., 654 F. App’x 578,

583-84 (3d Cir. 2016)). Compare Hoffman v. Mem. Osteopathic Hosp., 342 Pa. Super. 375, 382

(1985) (finding evidence sufficient to support finding of IIED against doctor who left patient

laying on floor after falling, unable to move and crying, for two hours).

        In Kessler v. Monsour, the plaintiff, a tenured high school art teacher alleged IIED when

faced with the following actions:

                Defendant Monsour ridiculed Dale Kessler's desire to spend School
                District funds to send students to an art competition; Dale Kessler
                was given an unsatisfactory job performance review on the wrong
                form and with inadequate observation; Dale Kessler was suspended
                when there were allegations of a criminal investigation by state and
                local police; Dale Kessler was suspended for events surrounding
                physical contact with a student; no hearing on the latter suspension
                was held; the defendant unions did not support Dale Kessler in his
                grievances and complaints; and the actions taken were in retaliation
                for Dale Kessler's exercise of his free speech rights.

865 F. Supp. 234, 241-42 (M.D. Pa. 1994). The Court found, “[t]his conduct, whether the events

are viewed singly or in combination, does not rise to the level of extreme and outrageous conduct

contemplated by § 46.” Id. at 242 (referencing Section 46 of the Restatement (2d) of Torts).

                           1. Defendant Fahey’s alleged conduct is not extreme or outrageous.

        Plaintiff has failed to allege facts against Defendant Fahey that are sufficiently extreme and

outrageous to set forth the first element of an IIED claim. In the proposed Amended Complaint,

the only paragraphs that contain factual allegations concerning Defendant Fahey’s conduct appear

at paragraphs 109-11 and set forth the following:

                109. Fahey told Lopez that Dr. Manco thought “mental health is a


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                joke”, that “his classroom is not a safe space” and that “he almost
                made [her] drop out of school.” Lopez sent a screenshot of her
                Direct Message conversation with Fahey to the school.

                110. Fahey also submitted a bias report to St. Joseph’s repeating the
                “mental health” allegations, and misrepresenting the extent of her
                absence and the reason she gave Dr. Manco for the absences, and
                falsely stating that Dr. Manco would not work with her nor take her
                seriously.

                111. To the contrary, Dr. Manco was never told, by Fahey or St.
                Joseph’s that her absences were due to mental health issues.
                Furthermore, Dr. Manco expressed concern for Fahey’s health and
                well-being and allowed her to make up an exam in the last week of
                the semester after she missed it without prior warning or notification
                ....

Am. Compl. ¶¶ 109-11. Plaintiff also attaches images of two e-mail discussions that Defendant

Fahey had with Plaintiff from October and December 2016, regarding her inability to attend class.

Am. Compl. ¶ 111. Every remaining allegation against Defendant Fahey in the Complaint is a

legal conclusion without factual support. Am. Compl. ¶¶ 5-6, 9, 56, 91, 145-49.

        Accordingly, Plaintiff alleges two actions taken by Defendant Fahey: (1) a single

conversation with Defendant Lopez wherein she told Defendant Lopez that Plaintiff thought

mental health was a joke, that his classroom was not a safe space, and that Plaintiff almost made

her drop out of school; and (2) submission of a bias report to SJU where Defendant Fahey

purportedly repeated the “mental health” allegations and “misrepresent[ed] the extent of her

absence and the reason she gave Dr. Manco for the absences, and falsely stat[ed] that Dr. Manco

would not work with her nor take her seriously.” Am. Compl. ¶¶ 109-10. These two actions are

not extreme and outrageous or “utterly intolerable in a civilized society” and, as such, cannot

support the first element of a claim for IIED. Kornegey, 299 F. Supp. 3d at 683. See also Eck,

Kessler, supra.

        Thus, the Court should deny Plaintiff’s request to amend his complaint to add a claim of


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IIED as to Defendant Fahey because such an amendment would be futile.

                                2. Defendant Lopez’s alleged conduct is not extreme or outrageous.

         Plaintiff has similarly failed to allege facts against Defendant Lopez that are sufficiently

extreme and outrageous. In the proposed Amended Complaint, the only paragraphs that contain

factual allegations concerning Defendant Lopez’s conduct, are as follows:

                  55.     Karleigh Lopez (“Lopez”), another St. Joseph’s graduate,
                  who was never taught by [Plaintiff], and did not know him
                  personally, saw Colbert’s [Instagram] posts, and joined in the public
                  campaign to have [Plaintiff] terminated. This included her creation
                  of a Tik Tok video which included screenshots of [Plaintiff’s] tweets
                  and a link to the bias reporting form, a plea to her followers to
                  “flood” the school with complaints, and a public tweet to St.
                  Joseph’s with “selected” screenshots of [Plaintiff’s] tweets and
                  Colbert’s added commentary.6

                  94.     Both Colbert and Lopez were “doxing” [Plaintiff] by
                  revealing and spreading selected portions of Dr. Manco’s social
                  media posts, together with false assertions of fact, on social media
                  platforms that he did not utilize.7




6
          Three images of Defendant Lopez’s TikTok video follow this paragraph in Plaintiff’s proposed Amended
Complaint at ECF 28-1 pp. 12-14. These images are layered. The first image includes a screenshot of Plaintiff’s
tweet that reads: “Suppose your great-great-grandfather murdered someone. The victim’s great-great-grandson knocks
on your door, shows you the newspaper clipping from 1905, and demands compensation from you. Your response?
Now get this racist reparations bullshit out of your head for good.” Defendant Lopez’s superimposed commentary
reads “these racist tweets are from saint josephs university math professor and baseball coach greg manco.” The
second image shows Plaintiff’s tweet that shares a photo of the Ayn Rand poster on his former office door, which
identifies himself as a “math professor,” panned wide enough to reveal Plaintiff’s name plate, thus identifying Plaintiff
as the owner of the Twitter account. Defendant Lopez’s superimposed text reads “proof this account is actually
his.” She also writes: “In the past few years, despite multiple racist incidents on campus, administration failed to
suspend students & likely will not hold their faculty accountable unless we flood their dms [direct messages] &
emails.” The third and final still image shows contact information from SJU’s website for its Chair of Mathematics,
Director of Graduate Programs in Mathematics Education, and a Visiting Assistant Professor of Mathematics; includes
the “flood their dms” language previously discussed; and adds “pls email/ report on sju website.” Similarly, Defendant
Lopez’s caption for the entire video reads “pls report [Plaintiff’s] disgusting racist tweets to any of the emails, phone
numbers included in this video or submit a report in the link in my bio #fyp.”
7
         Sharing publicly posted social media content from one platform to another is not doxing. “Doxing” means to
publicly identify or publish private information, usually as a form of harassment. See https://www.merriam-
webster.com/dictionary/dox. Although Plaintiff alleges his Twitter account was “anonymous and not affiliated with

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                 106. Colbert was provided this information [about Plaintiff telling
                 a narcoleptic student that they had to sit in the back of the classroom]
                 from Lopez, after Lopez received it from Carman in a Direct
                 Message conversation and Lopez then submitted the message to St.
                 Joseph’s.

                 109. Fahey, a graduate of St. Joseph’s, told Lopez that [Plaintiff]
                 thought “mental health is a joke”, that “his classroom is not a safe
                 space” and that “he almost made [her] drop out of school.” Lopez
                 sent a screenshot of her Direct Message conversation with Fahey to
                 [SJU].

Am. Compl. ¶¶ 55, 94, 106, 109. Further, the Complaint references a February 19, 2021 “public

tweet” to SJU by Defendant Lopez without further detail about what that public tweet said. Am.

Compl. ¶ 57. Every remaining allegation against Defendant Lopez in the proposed Amended

Complaint is a legal conclusion without factual support. Am. Compl. ¶¶ 5-6, 9, 56, 91, 145-49.

        Thus, Plaintiff’s claims against Defendant Lopez are based on three sets of actions taken

by her: (1) two private reports to SJU where she repeats information revealed to her by former

students about their experiences with Manco in the classroom; (2) her February 19, 2021 “public

tweet” to SJU, the contents of which are unknown; and (3) her TikTok video that shared

screenshots of Plaintiff’s tweets with her written reactions. Am. Compl. ¶¶ 55, 57, 106, 109. These

actions are not extreme and outrageous or “utterly intolerable in a civilized society” and, as such,

cannot support the first element of a claim for IIED. Kornegey, 299 F. Supp. 3d at 683. See also

Eck, Kessler, supra.



St. Joseph’s,” (Am. Compl. ¶ 46) Plaintiff posted numerous publicly available tweets and replies identifying himself
as the author of his Tweets and referencing his affiliation with SJU, e.g.:




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        Thus, the Court should deny Plaintiff’s request to amend his complaint as to adding a claim

of IIED as to Defendant Lopez because such an amendment would be futile.

                           3. Defendant Colbert’s alleged conduct is not extreme or outrageous.

        Finally, Plaintiff has failed to allege facts against Defendant Colbert that are sufficiently

extreme and outrageous. Just as with Defendants Fahey and Lopez, Plaintiff’s IIED claim against

Defendant Colbert is nothing more than Plaintiff’s attempt to punish Defendant Colbert for

purportedly saying things on social media and to SJU about Plaintiff that Plaintiff does not like.

The relevant facts from the proposed Amended Complaint are scattered and non-chronological;

accordingly, they are rearranged and grouped below into three categories.

                                   a. Defendant Colbert’s January 2021 Report to SJU

        Plaintiff alleges that on January 22, 2021, Defendant Colbert, an SJU graduate, emailed

certain SJU leadership (Nicole Stokes, Ph.D., SJU’s Associate Provost for Diversity, Equity, and

Inclusion, Shaily Menon, Ph.D., the Dean of the College of Arts and Sciences, and Dr. Tapp),

“accusing Dr. Manco of being racist and transphobic.” Am. Compl. ¶ 49. According to Plaintiff,

Defendant Colbert “included selected screenshots of tweets of Dr. Manco, as supposed evidence

to support her claims, adding that Dr. Manco discriminated against her in class and fostered a

hostile learning environment four (4) years earlier, in Spring of 2017. Colbert stated that Manco

“should not be allowed to coach or teach students.” Am. Compl. ¶ 50. Plaintiff goes on:

                98.     Colbert communicated false statements of fact when she told
                St. Joseph’s, in her initial January 22, 2021 email, that Dr. Manco
                “purposely made a hard quiz” the day President Joseph R. Biden,
                then former Vice President, came to St. Joseph’s on April 24, 2018,
                so “that students could not miss [the quiz]…” and therefore would
                have to miss the speech.

                99.     Colbert knew that this false assertion of fact was, indeed, a
                lie as she was previously in Dr. Manco’s class, and she knew all
                quizzes counted as extra credit. Moreover, Joe Biden’s visit and

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                  speech was deliberately scheduled to begin at 11:00 am when no
                  classes were held on campus. In addition, despite having no
                  obligation to do so, Dr. Manco accommodated students in his 9:30-
                  10:45 am class who wanted to arrive to the Joe Biden visit early to
                  get a good seat. . . .8

                  51.    On January 26, 2021, Colbert met with Title IX Coordinator
                  Lexi Morrison, Intake Officer Taba Pickard, and Tenisha McDowell
                  from Human Resources. Ms. Morrison identified this meeting as the
                  “consultation process” as outlined in St. Joseph’s Interim Policy on
                  Discrimination, Harassment, and Retaliation (“Interim Policy”).

                  97.    Colbert told St. Joseph’s in her January 26, 2021
                  “consultation process” that Dr. Manco would not “work with her”
                  when she requested to take her final exam late due to her head injury,
                  all of which was a false statement of fact. To the contrary, Dr.
                  Manco granted Colbert permission to makeup two (2) different
                  exams, including the final exam. In addition to granting Colbert a
                  makeup exam in their text message conversation, he granted her a
                  makeup for the final exam by allowing her to pick the date and time
                  her email request to Dr. Manco to take the exam late. . . .9

                  52.     During this “consultation process” Ms. Morrison broke with
                  the procedures laid out in the Interim Policy, breached the duties
                  owed to Plaintiff, and conspired with Colbert by advising her to find
                  others to support her experience with Dr. Manco, and to get them to
                  reach out to her.

Am. Compl. ¶¶ 51-52, 97-99.10

         To summarize, in Defendant Colbert’s report to SJU in January 2021, she purportedly made

the following statements about Plaintiff: (1) he was racist and transphobic; (2) he discriminated

against her in class and fostered a hostile learning environment during the Spring of 2017; (3) he

should not be allowed to coach or teach students; (4) he purposely made a quiz hard in April 2018;


8
         Screenshots of emails between Plaintiff and his students are affixed to this paragraph.

9
         Screenshots of emails between Plaintiff and Defendant Colbert are affixed to this paragraph.

10
       Notably, Plaintiff does not provide any details about the “selected screenshots” of Plaintiff’s own tweets that
Defendant Colbert purportedly provided to SJU.

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and (5) he would not “work with her” when she requested to take her final exam late due to a head

injury. None of the foregoing actions, taken as true, rise to the level of atrocity required to state

an IIED claim. See Eck, Kessler, supra. Making reports to a university about a professor’s

behavior, even if such reports are unflattering or untrue, is not extreme or outrageous or “utterly

intolerable in a civilized society” and, as such, cannot support the first element of a claim for IIED.

Kornegey, 299 F. Supp. 3d at 683. See also Eck, Kessler, supra.

                                   b. Defendant Colbert’s February 2021 Social Media Posts

        The proposed Amended Complaint also references a handful of social media posts

allegedly posted by Defendant Colbert from February 19, 2021 and February 21, 2021.

        The relevant posts from February 19, 2021 allege:

                54.     [f]our weeks later [after Colbert’s SJU Report], on February
                19, 2021, Colbert followed Ms. Morrison’s advice by using her
                Instagram account to spread ‘selected’ screenshots of selected
                tweets of Dr. Manco with her added defamatory comments, while
                encouraging others to report him to the University so that he would
                lose his job.

Am. Compl. ¶ 54. The proposed Amended Complaint appears to provide two examples of these

“selected screenshots” from February 19, 2021 at paragraphs 92 and 94. The first screenshot is a

tweet authored by Plaintiff where he questions whether “race/bias ‘training’…actually divides us

and *worsens* race relations.” Am. Compl. ¶ 92. On top of the tweet is Defendant Colbert’s

superimposed text that “When I took this man for stat[istics] I had a feeling he didn’t like Black

people but now reading his Twitter I know that he doesn’t like Black people.” Am. Compl. ¶ 92.

The second screenshot is another tweet authored by Plaintiff where he equates reparations as a

public policy with the descendant of a murder victim personally demanding compensation at the

doorstep of the descendant of the murderer, adding: “Now get this racist reparations bullshit out

of your head for good.”       Am. Compl. ¶ 94.         On top of the tweet is Defendant Colbert’s

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superimposed comment, “Professor Gregory Manco of Saint Joseph’s University everyone!!!!

This man should not be allowed to teach in any classroom that Black students are in! Or really any

students really!!!” Am. Compl. ¶ 94. Plaintiff also alleges that by sharing his tweets “with false

assertions of fact, on social media platforms that he did not utilize,” Defendant Colbert and

Defendant Lopez were “doxing” Plaintiff.11

        Plaintiff also references the following tweets by Defendant Colbert from February 21,

2021:

                 100. On February 21, 2021, with bias reports still being submitted
                 to St. Joseph’s about Dr. Manco, Colbert tweeted that Dr. Manco
                 “[allowed] his followers to send literal death threats to college
                 students.”

                 101.     This was a lie, and Colbert knew it to be a lie.

                 105. Also on February 21, 2021, Colbert tweeted that Dr. Manco
                 told a narcoleptic student that they had to sit in the back of the
                 classroom, which if true would be a violation of law and school
                 policy:




                 106. Colbert was provided this information from Lopez, after
                 Lopez received it from Carman in a Direct Message conversation
                 and Lopez then submitted the message to St. Joseph’s.

                 107.     Both Colbert and Carman’s statements were lies.

Am. Compl. ¶¶ 100-01, 105-07. Plaintiff alleges that as a result of Defendant Colbert’s actions

and the independent actions of others, SJU began to receive complaints about Plaintiff through its

bias reporting form. Am. Compl. ¶ 56.


11
        As noted in footnote 7, supra, Defendant Colbert’s actions, as outlined in the proposed Amended Complaint,
were not “doxing” Plaintiff. See also Am. Compl. ¶ 46, where Plaintiff admits ownership of his Twitter account.

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        To summarize, on February 19, 2021, Plaintiff alleges that Defendant Colbert reshared two

of Plaintiff’s own tweets and superimposed the following opinions related to those posts: (1)

Plaintiff doesn’t like black people; and (2) Plaintiff should not be able to teach in any classroom.

Further, Plaintiff alleges that on February 21, 2021, Defendant Colbert tweeted that Plaintiff: (1)

allowed his followers to “send literal death threats to college students;” and (2) told a narcoleptic

student that they had to sit in the back of the classroom because they were narcoleptic. Again,

none of the foregoing actions, taken as true, rise to the level of atrocity required to state an IIED

claim. See Eck, 2019 WL 3842399 at *8. A former student expressing her opinions about her

former a professor on the internet, including that she believes he is racist, and even making false

allegations about what that professor did is not extreme or outrageous behavior or “utterly

intolerable in a civilized society” and, as such, cannot support the first element of a claim for IIED.

Kornegey, 299 F. Supp. 3d at 683. See also Eck, Kessler, supra.

                                       c. Defendant Colbert’s Social Media Posts After the Alleged
                                          Non-Renewal of Plaintiff’s Contract With SJU.

        On June 10, 2021, Plaintiff was informed that SJU would not renew his contract, and on

the same day, he was informed that he would be kept on for two of four classes and hired as a part-

time adjunct professor for the Fall 2021 semester. Am. Compl. ¶¶ 77-78. Plaintiff, thereafter,

curiously alleges that he “was illegally suspended and then terminated” – despite having just

acknowledged he had not been terminated at all12 – and claims that Defendant Colbert “reveled in

her “accomplishment” by posting an Instagram story about it. Am. Compl. ¶ 90. Five images in

the proposed Amended Complaint from Defendant Colbert’s story show the following:

                 Image 1 (Compl. ¶ 90, p. 22): Defendant Colbert shares an article
                 from The Philadelphia Inquirer about SJU alumni protesting

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        Indeed, per Plaintiff’s proposed Amended Complaint, he’s been actively teaching at SJU until May 2022.
See Am. Compl. ¶¶ 131-36. Notably, Plaintiff has not alleged claims against The Inquirer, or the alumni protestors
mentioned in its article, for falsely suggesting to readers that Plaintiff was no longer employed by SJU.

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                Plaintiff’s removal. She seemingly circles a protestor’s sign that
                says “RE-HIRE MANCO AND FIRE THE WOKESTERS,” and
                adds her own commentary: “Oooops….Did I do that….”

                Image 2 (Compl. ¶ 90, p. 23): Defendant Colbert shares an article
                from The Philadelphia Inquirer about SJU alumni protesting
                Plaintiff’s removal. She seemingly underlines the word “Gregory
                Manco” and adds, “I’m hollering.”

                Image 3 (Compl. ¶ 90, p. 24): Defendant Colbert shares a meme
                stating: “Stay in yo lane, bitch.” She seemingly adds her own
                commentary: “That chrome dome fucked with the wrong student
                and found out! As well as I told Saint Joseph’s to fix the racism issue
                and they smiled in my face and didn’t do it now yall missing money.
                Let that shit burn and rot.”

                Image 4 (Compl. ¶ 90, p. 25): Defendant Colbert shares a meme
                stating: “I’m praying for you though.” She seemingly adds her own
                commentary: “Too many fake ass black students didn’t want to help
                me. Called me an angry black woman thought I was doing too
                much. And you sided with these white supremacist so you wouldn’t
                look a certain way. And I’m not saying this to punch down but yall
                look even more dumb now. See what happens when you keep your
                foot on their neck?”

                Image 5 (Compl. ¶ 90, p. 26): Defendant Colbert shares an image
                of a woman in a go kart and seemingly adds her own commentary:
                “Now all the white supremacist alumni is sick and showing their
                asses and proving my damn point. They don’t really like black
                people, POC, or women at SJU. Anyways, when you do coonery,
                coonery finna do you! that’s the lesson to learn from today kids!
                And when a white MFer trying to put some Jim Crow on you, open
                your mouth! Bc now Gregory Manco fat head waiting in the
                unemployment line”

Am. Compl. ¶ 90. Plaintiff then raises tweets between Defendant Colbert and Defendant Liebell,

where they are discussing the Inquirer article that Defendant Colbert had also shared on Twitter:

                114. Additionally, after Dr. Manco was cleared of any
                wrongdoing, Dr. Liebell tweeted that Dr. Manco was guilty of
                professional misconduct, specifically that he does not treat his
                students with equal respect:

                108. Colbert replied to Dr. Liebell repeating the debunked
                falsehoods that Dr. Manco was guilty of racism and that he had

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                bullied a disabled student by making her sit in the corner. Dr.
                Liebell responded that due to privacy issues, other alumni, students,
                and faculty did not know these supposed facts about Dr. Manco.

Am. Compl. ¶¶ 114-15.




        Plaintiff then concludes, without elaboration, that “[d]espite Colbert’s knowledge that

Dr. Manco showed no bias towards her or any other student, she continued to lie about him in

public statements, and repeatedly communicated false statements of fact.” Am. Compl. ¶ 96.

There are no further allegations of fact to support this claim. Every remaining allegation against

Defendant Colbert is a legal conclusion. Am. Compl. ¶¶ 5-6, 9, 56, 91, 145-49.

        Again, none of the foregoing actions by Defendant Colbert, taken as true, rise to the level

of atrocity required to state an IIED claim. A former student sharing an article on social media,

her opinions about and personal connection to that article, and then discussing the article’s subject

matter with those who engage with her is not extreme or outrageous behavior or “utterly intolerable

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in a civilized society” and, as such, cannot support the first element of a claim for IIED. Kornegey,

299 F. Supp. 3d at 683. See also Eck, Kessler, supra.

        Thus, the Court should deny Plaintiff’s request to amend his complaint as to adding a claim

of IIED as to Defendant Colbert because such an amendment would be futile.

                    ii. The IIED claim is futile as to Opposing Defendants because the
                        Opposing Defendants engaged in conduct that is subject to judicial
                        privilege.

        Throughout the proposed Amended Complaint, Plaintiff blames Opposing Defendants for

engaging in actions that led to SJU’s investigation into him and the ultimate non-renewal of his

contract. Am. Compl. ¶¶ 55-58, 91, 146. Thus, taking Plaintiff’s allegations as true, even if this

Honorable Court finds that the actions taken by the Opposing Defendants were extreme and

outrageous, all of the actions taken by the Opposing Defendants were pertinent and material to

SJU’s investigation into Plaintiff and premised on their purported attempts to initiate a quasi-

judicial proceeding against Plaintiff. For this reason, their actions are entitled to judicial privilege

and cannot serve as the basis of an IIED claim and any amendment to add IIED claims against

Opposing Defendants based on these facts would be futile. See Garabedian, 2019 WL 4885969,

*7 (recognizing that the judicial privilege extends to IIED claims under Pennsylvania law); See

also Church Mut. Ins. Co. v. Alliance Adjustment Grp., 102 F. Supp. 3d 719, 730 (E.D. Pa. 2015)

(“[Pennsylvania’s judicial privilege] extends to all tort actions . . . .”).

        The Eastern District of Pennsylvania has dismissed cases at the 12(b)(6) stage when

Pennsylvania’s “judicial privilege” is found to apply. See e.g., Ortiz v. De. River Port Auth., No.

09-6062, 2010 WL 1994911 (E.D. Pa. May 17, 2010); Giusto v. Ashland Chem. Co., 994 F. Supp.

587, 594 (E.D. Pa. 1998); Fogel v. Univ. of the Arts, No. 18-5137, 2019 WL 1384577, at *8 (E.D.

Pa. Mar. 27, 2019). Whether a statement deserves an absolute privilege is a question of law for



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the court. Pawlowski v. Smorto, 588 A.2d 36, 41 (1991). The judicial proceeding privilege

provides immunity for communications: “(1) issued as a matter of regular course of the

proceedings; or (2) pertinent and material to the proceedings.” Bochetto v. Gibson, 580 Pa. 245

(2004). “These two factors apply equally to communications made prior to the initiation of judicial

proceedings.” Schatzberg v. State Farm Mut. Auto. Ins. Co., 877 F. Supp. 2d 232, 247 (E.D. Pa.

2012) (citations omitted). “[T]he privilege is absolute, meaning that, where it attaches, the

declarant’s intent is immaterial even if the statement is false and made with malice.” Schanne

v. Addis, 121 A.3d 942, 947 (Pa. 2015). See also Church Mut. Ins. Co. v. Alliance Adjustment

Grp., 708 Fed. App’x 64, 71 (3d Cir. 2017). This privilege also extends to quasi-judicial

proceedings. Milliner v. Enck, 709 A.2d 417, 419 n.1 (Pa. Super. Ct. 1998).

        In Fogel v. University of the Arts, this Honorable Court recognized that a private

university’s internal investigation into a professor’s misconduct (that ultimately led to the

professor’s termination) constituted a quasi-judicial proceeding. 2019 WL 1384577, at *10. The

Fogel court found, at the motion to dismiss stage, that the statements made during the quasi-

judicial proceeding by the defendant who initiated the investigation were protected by the judicial

privilege. Id. Specifically, Fogel involved a professor from a different university who reported

purported sexual misconduct by the plaintiff professor to the plaintiff’s employer, University of

the Arts (a private university), sparking an investigation. Id. at *1-*4. Ultimately, the plaintiff

professor was terminated and brought claims for defamation against the defendant professor and

others. Id. This Court dismissed the defamation claims, in part, finding the defendant professor’s

statements protected by Pennsylvania’s judicial proceeding privilege. Id. at *8. Specifically, this

Court found the defendant professor’s statements to the university were “pertinent and material”

to the subsequent investigation and conclusions, and that they initiated quasi-judicial proceedings



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against the plaintiff that warranted the application of absolute privilege. Id. In its reasoning, the

Court compared the situation to that of Schanne, 121 A.3d at 949, where the privilege was not

applied because the defendant reported a teacher’s alleged misconduct to a friend, as opposed to

the school. Explaining, the Court in Fogel noted:

                Unlike Schanne where the plaintiff reported misconduct to her
                friend without any expectation of disciplinary proceedings, [the
                former professor] reported [plaintiff’s] misconduct to his school’s
                Title IX coordinator ‘initiating’ an investigation against [plaintiff].
                The policy rationale explained in the supreme court’s opinion in
                Schanne applies here to ‘incentivize’ individuals like [the defendant
                professor] to speak freely in seeking to initiate proceedings . . . .

Fogel, 2019 WL 1384577, at *10.

        Similar to Fogel, this action involves private university’s internal investigation into a

professor’s misconduct that, allegedly, ultimately led to the non-renewal of his contract. Am.

Compl. ¶¶ 77. Consistent with Fogel, SJU’s investigation constitutes a quasi-judicial proceeding

and the actions taken by the Opposing Defendants, who, per Plaintiff’s proposed Amended

Complaint, initiated SJU’s investigation, are protected by the judicial privilege. Specifically,

Defendant Fahey’s report to SJU, Defendant Lopez’s reports to SJU, tweet to SJU, and TikTok

asking her followers to report Plaintiff’s tweets to SJU, and Defendant Colbert’s January 2021

Report to SJU and social media posts, outlined in Sections III(B)(i)(1)-(3), supra, are entitled to

judicial privilege based on Fogel.

        As Plaintiff avers in his proposed Amended Complaint, SJU’s investigation into Manco

was related to the “biased or discriminatory nature” of his tweets and was conducted to “gather

facts” associated with his tweets and all of Opposing Defendants’ actions were “pertinent and

material” to SJU’s investigation into Plaintiff’s biased or discriminatory actions. Am. Compl.

¶ 58.



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        Further, taking Plaintiff’s allegations as true, Opposing Defendants intent in

communicating with each other and SJU was specifically to initiate a quasi-judicial proceeding

against Plaintiff. Id. at ¶¶ 49-51, 54-55, 92, 94, 98, 100, 105-06, 109-10. Per Plaintiff, just “a few

hours after Lopez’s public tweet to St. Joseph’s, and after the school received three anonymous

bias reports about [Plaintiff’s] Twitter posts” he was placed on an immediate administrative leave

wherein SJU was investigating the “biased or discriminatory nature” of his tweets. Am. Compl.

¶¶ 57-58. Plaintiff, himself, alleges that “St. Joseph’s began to receive complaints about” him “as

a result of Ms. Morrison’s advice, Colbert’s execution, and Lopez’s assistance . . . .” Id. at ¶ 56.

See also id. at ¶ 9 (“[I]t is clear that all of the defendants acted to ‘cancel’ Dr. Manco.”); ¶ 55

(describing Defendant Lopez’s actions as “join[ing] in the public campaign to have him

terminated”); ¶ 91 (“Through the period described above, Colbert, Lopez . . . Fahey . . . all

conspired and, in fact, communicated false statements about Dr. Manco in an effort to destroy his

professional career, his reputation in the community, and cause him personal humiliation, mental

anguish and suffering.”) ¶ 146 (“Colbert . . . Fahey, Lopez . . . all intentionally interfered with Dr.

Manco’s employment contract with [SJU]”). Thus, per Plaintiff’s own allegations in the proposed

Amended Complaint, Opposing Defendants intended to initiate these quasi-judicial proceedings

against Plaintiff. Like the defendant in Fogel, who was protected by the judicial privilege for

initiating quasi-judicial proceedings against a current professor, the Opposing Defendants should

be protected by the judicial privilege for reporting Plaintiff and initiating the SJU investigation.

“Under such a predicate, there is a colorable nexus between immunity and the privilege’s

underlying policy pertaining to the unencumbered resolution of claims in a judicial (or quasi-

judicial) setting.” Schanne, 121 A.3d at 559-60.

        Further, the privilege should also apply because public policy favors empowering



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individuals like Opposing Defendants to make such reports. See Schanne v. Addis, 898 F. Supp.

2d 751, 757 (E.D. Pa. 2012) (“When courts choose to apply the privilege, they deem the policy

concerns – encouraging open communication without fear of retributive lawsuits – to outweigh the

right of the defamation plaintiff to seek redress.”) (vacated and remanded on other grounds).

        Because Opposing Defendants’ actions were privileged, an amendment to add a claim for

IIED would be futile and Plaintiff’s Motion should, therefore, be denied as to addition of this claim

against Opposing Defendants.

IV.     CONCLUSION

        For the reasons stated herein, Opposing Defendants respectfully request that this Court

deny Plaintiff’s Motion for Leave to File an Amended Complaint as to Plaintiff’s requested

inclusion of a claim for IIED as to Opposing Defendants.



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